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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:16-cv-01404-PAB-GPG

  JOHN DOE,

         Plaintiff,

  v.

  ASPEN VALLEY HOSPITAL DISTRICT (d/b/a ASPEN VALLEY HOSPITAL);
  ALICIA MILLER, in her individual and official capacities,
  DAWN GILKERSON, in her individual and official capacities,
  ELAINE GERSON, in her individual and official capacities,
  STEPHEN KNOWLES, in his individual and official capacities, and
  MICHELLE GELROTH, in her individual and official capacities,


        Defendants.
  ______________________________________________________________________________

                   STIPULATION TO DISMISS WITH PREJUDICE
  ______________________________________________________________________________

          The Parties, by and through their respective undersigned counsel of record, hereby

  stipulate to dismiss this action with prejudice pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii), each party

  to bear its own fees, costs and expenses, and state as follows:

         1.      The Parties participated in a private mediation on August 24, 2016, and after

  further negotiations, have reached a settlement of all claims in this action.

         2.      Pursuant to the terms of the settlement agreement, the Parties hereby stipulate to

  dismiss this action with prejudice, each party to bear its own fees, costs and expenses.

          Dated and respectfully submitted this 3rd day of October 2016.

  BY THE PARTIES:

  s/ Mari Newman                                  s/ Leslie Miller
  _______________________________                 _________________________________
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